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5
     ZACHERY BASTIEN
6

7

8                                  UNITED STATES DISTRICT COURT

9                                EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                           Case No.: 2:16-cr-224 GEB
12
                    Plaintiff,
13
     vs.                                                 STIPULATION AND [PROPOSED] ORDER
14                                                       CONTINUING STATUS CONFERENCE
     ZACHERY JOSEPH BASTIEN,
15
                                                         Date:        September 6, 2019
16
                    Defendant.                           Time:        9:00 a.m.
17                                                       Court:       Hon. Garland E. Burrell, Jr.

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20
            It is hereby stipulated and agreed by and between plaintiff United States of America and
21
     Defendant Zachery Bastien, through their respective attorneys, that the status conference
22
     presently set for July 12, 2019, at 9:00 a.m., be continued by the Court to September 6, 2019, at
23
     9:00 a.m. Defense counsel is requesting the continuance to allow the parties to negotiate and
24
     finalize the terms of a proposed resolution, for defense counsel to continue research regarding the
25
     potential consequences of the recently enacted First Step Act upon any sentence imposed in this case,
26
     and to respond to the client’s questions about the First Step Act’s impact on sentencing options
27
     ORDER CONTINUING STATUS
28   CONFERENCE
                Case 2:16-cr-00224-DAD Document 65 Filed 07/12/19 Page 2 of 3


1
     available to him, and to otherwise prepare Mr. Bastien’s matter for a potential change of plea
2
     hearing.
3
              This case involves, among other allegations, that Mr. Bastien participated in a conspiracy to
4
     structure monetary transactions (18 U.S.C.§ 371) and actual structuring of monetary transactions (31
5
     U.S.C. § 5324(a)(3)). The matter is set as for a jury trial scheduled to begin on January 21, 2020,
6
     with a Trial Confirmation Hearing set for December 6, 2019. This stipulation does not alter those
7
     dates.
8
              The government does not oppose the defense request to continue the status conference. Time
9

10
     under the Speedy Trial Act has previously been excluded, up to and including, the January 21, 2020

11   trial date (ECF Entry 56). No additional finding is necessary regarding exclusion of time.

12            Assistant U.S. Attorney Kevin Khasigian authorized Attorney Todd D. Leras via telephone

13   call to sign this stipulation on his behalf.

14

15            Dated: July 10, 2019                           /s/ Todd Leras
                                                             ___________________________
16                                                           TODD LERAS
                                                             Attorney for defendant
17                                                           ZACHERY BASTIEN
18

19            Dated: July 10, 2019                           MCGREGOR W. SCOTT
                                                             United States Attorney
20

21                                                           /s/ Kevin Khasigian
                                                     By:     _______________________
22                                                           KEVIN KHASIGIAN
                                                             Assistant United States Attorney
23                                                           (Per telephone authorization)
24

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27
     ORDER CONTINUING STATUS
28   CONFERENCE
               Case 2:16-cr-00224-DAD Document 65 Filed 07/12/19 Page 3 of 3


1
                                                       ORDER
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            The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its Order. It is
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     hereby ORDERED that the presently set July 12, 2019, at 9:00 a.m., status conference hearing
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     shall be continued to September 6, 2019, at 9:00 a.m.
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            Based on the previous exclusion of time requested by defense counsel, up to and
7
     including the presently-scheduled jury trial date of January 21, 2020, no further finding is
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     required regarding time under the Speedy Trial Act.
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                    IT IS SO ORDERED.

11          Dated: July 11, 2019

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     ORDER CONTINUING STATUS
28   CONFERENCE
